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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

GEORGE DOUGLAS METZ, II and
SHAWN MICHAEL BERRY

         Plaintiffs,

v.                                                   Case No.

SHERIFF CHAD CHRONISTER, IN HIS OFFICIAL
CAPACITY, AS SHERIFF OF HILLSBOROUGH
COUNTY, FLORIDA, DEPUTY DEMETRIOS
ANTONIADIS AND TAMPA PORT AUTHORITY,
the governing body and port authority of Hillsborough
County Port District d/b/a PORT TAMPA BAY

      Defendants.
_______________________________________/

                          COMPLAINT-JURY TRIAL DEMANDED

         The Plaintiffs, GEORGE DOUGLAS METZ, II (“Metz”), and SHAWN MICHAEL

BERRY (“Berry”) sue the Defendants, SHERIFF CHAD CHRONISTER(“Chronister”) IN HIS

OFFICIAL CAPACITY, AS SHERIFF OF HILLSBOROUGH COUNTY, FLORIDA,

DEPUTY DEMETRIOS ANTONIADIS (“Antoniadis”), and TAMPA PORT AUTHORITY, the

governing body and port authority of Hillsborough County Port District d/b/a PORT TAMPA

BAY (“Port Tampa Bay”) allege as follows:

         This is an action for damages brought pursuant to the United States Constitution and, 42

U.S.C. § 1983, resulting from deprivations, under color of law, of the Plaintiffs’ rights secured

by the First, Fourth and Fourteenth Amendment to the United States Constitution, as well as for

assault, battery and negligence under Florida law.




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                                JURISDICTION AND VENUE

1.       This Court has jurisdiction over these claims pursuant to Article III, Section 1, of the

Constitution and 28 U.S.C. §§ 1731, 1332 and 1343.                The Plaintiff also invokes the

supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to decide the asserted

statutory and common law tort claims.          The amount in controversy exceeds $30,000.00,

excluding interest and costs.

2.       Venue is properly established in this judicial district pursuant to 28 U.S.C. § 1391(B), as

all the conduct complained of herein took place within the geographical jurisdiction of this

Court.

                                              Parties

3.       The Plaintiff, George Douglas Metz, II, is a citizen of the United States and a resident of

Belleview, Marion County, Florida.

4.       The Plaintiff, Shawn Michael Berry, is a citizen of the United States and a resident of

Belleview, Marion County, Florida.

5.       The Defendant, Sheriff Chad Chronister, is the duly elected sheriff of Hillsborough

County, Florida, and is a constitutional officer of the State of Florida. Chronister is charged with

the responsibility of enforcing the Florida Constitution, as well as the laws of the State of

Florida. Chronister derives his legal authority from the Constitution of the State of Florida and is

vested with the authority to appoint and direct deputies who act in his name and office to enforce

the appropriate and applicable laws of the State of Florida.

6.       Defendant, Deputy Demetrios Antoniadis, at all times relevant to the actions complained

of herein, was employed as a deputy sheriff by Defendant Chronister. In his capacity as a deputy

for the Hillsborough County Sheriff’s Office, Defendant Antoniadis had a legal obligation to act


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in conformity with the United States and Florida Constitutions and other applicable federal and

state laws. Defendant Antoniadis is sued in his individual capacity and at all times relevant to

this Complaint was acting within the course and scope of his employment with the Hillsborough

County Sheriff’s Office. At all times relevant to this Complaint, he was acting under color of the

laws of the State of Florida.

7.       Defendant, Port Tampa Bay was legislatively created to be one of Florida’s fifteen (15)

public seaports.

                                              Facts

8.       At all times relevant to the events complained of herein, Metz was self-employed as an

event coordinator and as a You Tube channel operator. At all times relevant to the events

complained of herein, Berry, a disabled veteran of the United States Armed Forces, was self-

employed as a You Tube channel operator and civic activist.

9.       On November 4, 2019, Metz and Berry arrived at Port Tampa Bay, Terminal 3 located in

Hillsborough County at 815 Channelside Drive, Tampa, Florida 33602. Upon arrival at Terminal

3 of Port Tampa Bay, they took an escalator to the second floor to the arrival/departure area. At

the top of the escalator, to their immediate left, was a secure area, as evidenced by a cue line with

ropes and security personnel controlling entry.    They did not attempt to enter that area. Instead,

they stood in an open area to the immediate right of the security area and began to take video.

There were no signs designating the area in which they were standing as a "Secure Area". On

the first floor, by the baggage area, there were two large red-letter signs that read, "Secure Area".

No such signage was visible upstairs in the area occupied by Metz and Berry.




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10.     At least four other non-ticketed people were standing within feet of Metz and Berry. The

other non-ticketed people were, at no time, ever asked to leave the area or to produce

identification.

11.     Metz and Berry were approached by a representative of Carnival Cruise Lines and told

that they cannot take pictures or videotape on the premises. They advised the representative that

they had a right to continue the activity.

12.     Metz and Berry were next approached by a representative of Port Tampa Bay and told

that they were not allowed to take photographs or video without a permit; and, that they were not

allowed to remain on the premises. They advised the representative that they were within their

rights to both be on the premises; and, to take video. The representative summoned assistance

from Defendant Antoniadis.

13.     Metz and Berry were next approached by Defendant Antoniadis, and told that they were

not allowed to remain in the area without a ticket. He advised them that if they failed to leave

the premises, they would be arrested and charged with trespassing. Metz and Berry refused to

discontinue taking photographs and video; and, remained in the area. Consequently, they were

forcibly restrained, handcuffed, and placed under arrest.

14.     They were then removed from the area and booked into the Hillsborough County Jail and

charged with trespassing. Their arrests were carried out during daylight hours and in a public

place, causing Metz and Berry to suffer shame and humiliation. At the jail, Metz and Berry were

stripped of their clothing and possessions, denied the use of their telephones, and confined

against their will for approximately ten (10) hours.

15.     At no time did Metz or Berry violate any local, state, or Federal statute, code or

ordinance prior to their arrest and removal from the Port Tampa Bay Terminal 3. Their conduct



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falls squarely within Metz’ and Berry's rights secured by the First Amendment to the United

States Constitution.

16.      Port Tampa Bay and it's Terminal 3 are publicly owned property. Port Tampa Bay was

legislatively created to be one of Florida’s 15 public seaports.

17.      Carnival Cruise Lines had, at all times relevant, an operational agreement with the Port

Tampa Bay, giving it the right to use the facilities of the Port Tampa Bay. The operational

agreement did not give Carnival Cruise Lines the exclusive use of the facilities; nor did it give

Carnival control of the publicly accessible areas. At no time relevant to the events referenced

herein did a lease exist between Port Tampa Bay and Carnival Cruise Lines.

18.      While videotaping the activities in and around Terminal 3, Metz and Berry were not

acting suspiciously or furtively. They were not armed with any weapons and were carrying

nothing other than video cameras. While videotaping the activities in and around Terminal 3,

Metz and Berry were not threatening anyone, either by word or action, nor were they interfering

with pedestrian traffic or with any of the activities then occurring at the Terminal 3.

19.      The criminal charges brought against Metz and Berry were subsequently dismissed by the

State Attorney for the 13th Judicial Circuit. Metz’s and Berry's wrongful arrests were carried out

during daylight hours and in a public place causing Metz and Berry to suffer humiliation and

shame.




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                                      CAUSES OF ACTION

                                               Count I

                            First Amendment (42 U.S.C. Sec. 1983)
               (First Amendment Right to Be Free From Retaliation for Expressive Conduct)
                                   Plaintiff v. All Defendants

Plaintiff incorporates by reference the allegations of the preceding paragraphs as though set forth

at length herein.

20.    Observing and recording public employees and publicly owned places, without

interfering with the duties of those employees or the operations of such entities, is a legitimate

means of gathering information for public dissemination and is therefore expressive conduct

protected by the First Amendment to the Constitution of the United States of America.

21.    The detention, search, and seizure of the Plaintiffs and their personal property constituted

unlawful retaliation by Defendants for Plaintiffs’ engaging in activity protected by the First

Amendment to the Constitution of the United States of America.

22.    The detention, search, and seizure of the Plaintiffs and their personal property also

constituted unlawful retaliation by Defendants for Plaintiffs’ questioning them and their lawful

authority, which is activity protected by the First Amendment to the Constitution of the United

States of America.

23.    Additionally, Defendants acted with wanton, callous and reckless disregard of Plaintiffs’

First Amendment rights in detaining, searching Plaintiffs, and seizing Plaintiffs’ property in

retaliation for the exercise of these constitutionally protected rights.




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                                             Count II

                            Fourth Amendment (42 U.S.C. Sec. 1983)
                                      (False Arrest-Seizure)
                                   Plaintiffs v. All Defendants

Plaintiffs incorporate by reference the allegations in the paragraphs above as if thoroughly set

forth herein.

24.    The actions of the Defendants in detaining, searching, and seizing the Plaintiffs and their

property without probable cause violated the Plaintiffs’ clearly established right to be free from a

false arrest/seizure under the Fourth Amendment to the Constitution of the United States of

America.


                                               Count III

                                  Monell Claim – Failure to Train
                 Plaintiffs v. Chad Chronister, as Sheriff of Hillsborough County

Plaintiff incorporates by reference the allegations in the paragraphs above as if thoroughly set

forth herein.

25.    Defendant, Chronister, as Sheriff of Hillsborough County, was deliberately

indifferent when he failed to properly train or instruct Defendant Antoniadis that Plaintiffs have a

First Amendment right to stand on public property and record public officials discharging their

duties, and everything their eyes could see from that publicly accessible place.

26.    Without Chronister’s, deliberate indifference in failing to have a proper policy and to

properly train Defendant Antoniadis, Plaintiffs would not have suffered the retaliatory

detention, search and seizure by Defendant Antoniadis of the Hillsborough County Sheriff’s

Office and the consequences of such actions.




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                                        CONCLUSION

      WHEREFORE, Plaintiffs respectfully request:

      a. Compensatory damages;

      b. Punitive damages;

      c. Reasonable attorney’s fees and costs; and

      d. Such other and further relief as may appear just and appropriate.



                                     JURY DEMAND

      Plaintiffs hereby demand a jury trial as to all claims stated in this Complaint.




DATED this 22nd of February, 2021.

                                     Respectfully submitted,


                                     /s/ Vincent R. Pawlowski
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of February, 2021, I electronically filed this

document with the Clerk of the Court by using the CM/ECF System, which will forward

electronic copies to all defendants listed above.

                                                          /s/ Vincent R. Pawlowski
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